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                                                                                            CO-290
Notice of Appeal Criminal                                                                Rev. 3/88




                United States District Court for the District of Columbia

UNITED STATES OF AMERICA                     )
                                             )
vs.                                          )
                                             )       Criminal No. 11-CR-106 (ESH)
ALI MOHAMED ALI                              )
                                             )

                                     NOTICE OF APPEAL

 Name and address of appellant                      United States of America


 Name and address of appellant’s attorney           Mary B. McCord
                                                    United States Attorney’s Office
                                                    Room 5842A
                                                    555 4th Street, NW
                                                    Washington, DC 20530

Offenses:       18 U.S.C. §§ 2, 371, 1203, & 1651

Concise statement of judgments or order, giving date, and any sentence

       Order of July 13, 2012, entered on the docket on July 13, 2012, granting in part defendant’s
       motion to dismiss Count 1 and Count 2 (dismissed in part); rendered final for purposes of
       appeal on July 20, 2012, with denial of government’s motion for reconsideration. See
       United States v. Healy, 376 U.S. 75 (1964)(judgment not final until district court disposes
       of motion for rehearing or reconsideration).

       Orders of July 24 and July 25, 2012, entered on the docket on July 24 and 25, 2012,
       dismissing Counts 3 and 4 and vacating portions of the district court’s Memorandum
       Opinion of July 13, 2012.

Name of institution where appellee is now confined, if not on bail: N/A

        I, the above-named appellant, hereby appeal to the United States Court of Appeals for the
District of Columbia Circuit from the above-stated judgment.

July 27, 2012                                        United States of America
DATE                                                 APPELLANT

                                                           /s/
                                                     MARY B. McCORD
                                                     ATTORNEY FOR APPELLANT
CJA, NO FEE       No
PAID USDC FEE gov’t appeal
PAID USCA FEE gov’t appeal
Does counsel wish to appear on appeal? Yes
        Case 1:11-cr-00106-ESH Document 265 Filed 07/27/12 Page 2 of 2
                                                                                       CO-290
Notice of Appeal Criminal                                                           Rev. 3/88


Has counsel ordered transcripts? Yes
Is this appeal pursuant to the 1984 Sentencing Reform Act? No

                                CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 27th day of July, 2012, I have caused a copy of the foregoing to
be served by electronic means, through the Court’s CM/ECF system, upon:

                                           Matthew J. Peed
                                           Timothy Ryan Clinton
                                           Clinton & Peed, PLLC
                                           Suite 400
                                           1455 Pennsylvania Avenue, NW
                                           Washington, DC 20004

                                           Brian C. Brook
                                           Clinton & Peed, PLLC
                                           15th Floor, Suite P
                                           145 East 16th Street
                                           New York, NY 10003



                                            /s/
                                           MARY B. McCORD
                                           Assistant United States Attorney
                                           555 4th Street, NW, Room 5842A
                                           Washington, DC 20530
                                           (202) 252-7902
